     Case 3:17-cv-02345-B-BT Document 5 Filed 11/09/17          Page 1 of 6 PageID 21



                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

NICHOLAS LACKEY,                           §
          Plaintiff,                       §
                                           §
VS.                                        §        CIVIL ACTION NO.
                                           §        3:17-CV-02345-B
ABEL SALAZAR and AUSTIN                    §
PALMER,                                    §
          Defendants.                      §
                                           §


                  ORIGINAL ANSWER OF DEFENDANT PALMER

TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW Defendant Officer Austin Palmer (“Officer Palmer”), in his individual

capacity, and for his Original Answer to Plaintiff's Original Complaint (Doc. 1) admits,

denies, and alleges as follows:

                                         I.
                                   GENERAL DENIAL

        Except as herein expressly provided below and except for those allegations which may

constitute admissions against the interest of Plaintiff, Officer Palmer denies each and every

allegation of the Plaintiff's Original Complaint and demands strict proof thereof.

                                       II.
                              RESPONSIVE PLEADINGS

A.      Jurisdiction and Venue

        No contest.

ORIGINAL ANSWER OF DEFENDANT PALMER                                                  PAGE 1
     Case 3:17-cv-02345-B-BT Document 5 Filed 11/09/17              Page 2 of 6 PageID 22



B.      Parties

        No contest.

C.      Specific Denials

        1.     Except as otherwise expressly provided herein, Officer Palmer specifically

denies the allegations contained in Paragraphs 1, 11, 12, 13, 15, 16, 17, 20, 21, 22, 23, and 24

of Plaintiff’s Original Complaint.

        2.     Officer Palmer specifically denies hitting or beating Plaintiff.

        3.     Officer Palmer specifically denies striking Plaintiff’s head into the dashboard

or steering wheel.

        4.     Officer Palmer specifically denies digging his knees into Plaintiff’s back.

        5.     Officer Palmer specifically denies placing Plaintiff in a chokehold or

otherwise, twisting, choking, or grabbing Plaintiff’s neck.

        6.     Officer Palmer specifically denies grabbing or pulling Plaintiff’s hair.

        7.     Officer Palmer specifically denies placing handcuffs on Plaintiff in an

excessively tight manner.

        8.     Officer Palmer specifically denies shoving Plaintiff head first on to the hood of

the police car.

        9.     Officer Palmer specifically denies that he violated any of Plaintiff’s federal

constitutional or statutory rights or any rights secured under state law as alleged in Plaintiff’s

Original Complaint. More particularly, Officer Palmer specifically denies that he violated


ORIGINAL ANSWER OF DEFENDANT PALMER                                                       PAGE 2
     Case 3:17-cv-02345-B-BT Document 5 Filed 11/09/17            Page 3 of 6 PageID 23



Plaintiff’s constitutional right not to be subjected to excessive force pursuant to the Fourth

Amendment of the United States Constitution and 42 U.S.C. § 1983.

        10.   Officer Palmer specifically denies that Plaintiff sustained any physical injury

that resulted directly and only from the use of force by Officer Palmer that was clearly

excessive to the need and that was objectively unreasonable.

        11.   Officer Palmer specifically denies Plaintiff is entitled to compensatory

damages, punitive damages, pre-judgment or post judgment interest, court costs, attorney’s

fees or any other relief demanded from him in Plaintiff’s Original Complaint.

D.      No Knowledge

        Except as otherwise expressly provided herein, Officer Palmer has insufficient

knowledge or information at this time to admit or deny the allegations contained in

Paragraphs 9 and 14 of Plaintiff’s Original Complaint.

E.      Admissions

        1.    Except as otherwise expressly provided herein, Officer Palmer admits the

allegations contained in Paragraphs 2, 3, 4, 5, 6, 7, 8, 10, 18, 19, and 25 of Plaintiff’s

Original Complaint.

        2.    Officer Palmer admits that when Plaintiff refused to exit the vehicle despite

Officer Salazar ordering him to do so multiple times, he assisted Officer Salazar in physically

removing Plaintiff from the car.




ORIGINAL ANSWER OF DEFENDANT PALMER                                                    PAGE 3
     Case 3:17-cv-02345-B-BT Document 5 Filed 11/09/17            Page 4 of 6 PageID 24



        3.     After Plaintiff resisted being removed from the car, Officer Palmer admits there

was a prolonged struggle inside the small and confined space within the vehicle as the

officers attempted to restrain and handcuff Plaintiff, who was actively resisting.

        4.     Officer Palmer admits that either he or Officer Palmer handcuffed Plaintiff

while Plaintiff was lying face down in the front seat of the car. Officer Palmer admits that

one of the officers may have placed his knee on Plaintiff’s back while handcuffing Plaintiff

in accordance with standard operating procedure and officer training on how to safely

restrain a person for handcuffing.

        5.     Officer Palmer admits that after being handcuffed, Officer Palmer placed

Plaintiff, with his chest down, against the hood of a police car while Plaintiff was being

searched for weapons.

                                      III.
                               AFFIRMATIVE DEFENSES

1.      Failure to State a Claim

        Officer Palmer asserts that Plaintiff has failed to state an actionable federal claim

against him under 42 U.S.C. § 1983, upon which relief may be granted by the Court.

2.      Qualified and Official Immunity

        Officer Palmer asserts that Plaintiff’s claims for monetary damages against him are

barred by the doctrines of qualified and official immunity. Officer Palmer asserts that he is

entitled to such immunity because at all times he was acting in good faith and within the

course and scope of his authority as an officer, he did not violate clearly established law of

ORIGINAL ANSWER OF DEFENDANT PALMER                                                    PAGE 4
  Case 3:17-cv-02345-B-BT Document 5 Filed 11/09/17                Page 5 of 6 PageID 25



which a reasonable person would have known, and a reasonable officer could have believed

that his actions were lawful in light of clearly established law and the information he

possessed at the time. In further support of his defense of qualified immunity, Officer

Palmer repeats and realleges each of the facts alleged supra.

                                           PRAYER

       WHEREFORE, PREMISES CONSIDERED, Officer Palmer prays that the Court will

dismiss this suit with prejudice, that Plaintiff take nothing by this action against him, that he

recover his costs including a reasonable attorney’s fee herein, and any other relief to which

he may be justly entitled under the law.

                                            Respectfully submitted,

                                            FAITH JOHNSON
                                            DISTRICT ATTORNEY

                                            /s/ Tammy J. Ardolf
                                            TAMMY J. ARDOLF
                                            ASSISTANT DISTRICT ATTORNEY
                                            TEXAS BAR NO. 90001536
                                            Tammy.Ardolf@dallascounty.org
                                            FEDERAL LITIGATION SECTION
                                            FRANK CROWLEY COURTS BUILDING
                                            133 N. RIVERFRONT BLVD., L.B. 19
                                            DALLAS, TEXAS 75207
                                            PHONE: (214) 653-3692
                                            FAX:    (214) 653-2899

                                            ATTORNEYS FOR DEFENDANT
                                            OFFICER AUSTIN PALMER
                                            IN HIS INDIVIDUAL CAPACITY




ORIGINAL ANSWER OF DEFENDANT PALMER                                                      PAGE 5
  Case 3:17-cv-02345-B-BT Document 5 Filed 11/09/17             Page 6 of 6 PageID 26




                             CERTIFICATE OF SERVICE

       In accordance with the Rule 5(b)(2)(E) of the Federal Rules of Civil Procedure and

Local Rule 5.1(d), I hereby certify that a true and correct copy of the foregoing instrument

has been electronically served upon all parties.


                                          /s/ Tammy J. Ardolf
                                          TAMMY J. ARDOLF




ORIGINAL ANSWER OF DEFENDANT PALMER                                                 PAGE 6
